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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION

  REGINOLD HARDEN,                    )
                                      )
        Plaintiff,                    )
                                      )
  v.                                  )                Civil Case No.: 6:20-cv-1672
                                      )
  THE NASSAL COMPANY and              )
  PACESETTER PERSONNEL SERVICE )
  OF FLORIDA, INC.,                   )
                                      )
        Defendants.                   )
  ____________________________________/

          PLAINTIFF’S COMPLAINT WITH DEMAND FOR JURY TRIAL

         COMES NOW Plaintiff REGINOLD HARDEN (“Plaintiff” or “Harden”), files his

  Complaint    against   Defendants,     THE    NASSAL     COMPANY         (“Nassal”)   and

  PACESETTER SERVICE OF FLORIDA, INC., (“Pacesetter”), collectively “Defendants”,

  and in support he states the following:

                                NATURE OF THE CLAIMS

         1.      This is an action for monetary damages, pursuant to Title VII of the Civil

  Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e, et seq. (“Title VII”) and the Civil

  Rights Act of 1866, 42 U.S.C. §1981, as amended by the Civil Rights Act of 1991 (“Section

  1981”) to redress Defendants’ unlawful employment practices against Plaintiff including

  Defendants’ unlawful discrimination, harassment, and retaliation against Plaintiff because

  of his race, leading to his unlawful termination.




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                                JURISDICTION AND VENUE

         2.      This Court has jurisdiction over the claims herein pursuant to 28 U.S.C. §§

  1331 and 1343, as this action involves federal questions regarding deprivation of Plaintiff’s

  civil rights under Title VII and Section 1981.

         3.      This Court has supplemental jurisdiction over Plaintiff’s related claims

  arising under state law pursuant to 28 U.S.C. §1367(a).

         4.      Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) because a

  substantial part of the events or omissions giving rise to this action, including Defendant’s

  unlawful employment practices alleged herein, occurred in this District.

                                         THE PARTIES

         5.      Plaintiff, Harden, is a citizen of the United States, and is and was at all times

  material, a resident of the State of Florida.

         6.      Defendant, The Nassal Company, is a Florida For Profit Corporation with

  its principal place of business in Orlando, Florida.

         7.      Defendant, Pacesetter Personnel Service of Florida, Inc., is a Florida For

  Profit Corporation with its principal place of business in Houston, Texas.

         8.      At all times relevant Plaintiff worked for Defendants at 415 W. Kaley St.,

  Orlando, Florida 32806.

         9.      Defendants are employers as defined by the laws under which this action is

  brought and employs the requisite number of employees.

                             PROCEDURAL REQUIREMENTS

         10.     Plaintiff has complied with all statutory prerequisites to filing this action.



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          11.        On June 21, 2019 Plaintiff timely dual-filed a claim with the Equal

  Employment Opportunity Commission (“EEOC”) and the Florida Commission on Human

  Relations (“FCHR”), against Defendant, satisfying the requirements of 42 U.S.C. § 2000e-

  5(b) and (e), based on race and retaliation.

          12.        Plaintiff’s EEOC Charge was filed within three hundred days after the

  alleged unlawful employment practices.

          13.        On March 3, 2020, as to Defendant, The Nassal Company, the FCHR issued

  to Plaintiff a Determination: Reasonable Cause

          14.        On June 12, 2020, as to Defendant Pacesetter Personnel Service of Florida,

  Inc., the FCHR issued a Notice of Dismissal.

          15.        This Complaint was filed within one year of the FCHR’s issuance of its

  Determination of Reasonable cause as to Defendant, The Nassal Company, and within four

  years of the FCHR’s Notice of Dismissal as to Defendant, Pacesetters Personnel Service

  of Florida, Inc.

                                   FACTUAL ALLEGATIONS

          16.        Plaintiff is an African American male.

          17.        Defendant discriminated against Plaintiff due to his race.

          18.        In June 2018, Pacesetter assigned Plaintiff to work for Nassal as a Scissor

  Lift Driver and was later moved to work in Nassal’s Shipping and Receiving Department.

          19.        Soon after Plaintiff began working for Nassal, Nassal expressed interest in

  hiring Plaintiff full-time.




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          20.      Jason Petrashek (Caucasian), contacted Pacesetter, specifically supervisor

  Ryan (last name known) in Pacesetters’ Kissimmee, Florida office and advised that

  Plaintiff would be hired by Nassal.

          21.      During his employment, Plaintiff was the only African American employee

  in Nassal’s Shipping and Receiving Department.

          22.      Nassal subjected Plaintiff to numerous discriminatory comments. For

  example, Mr. Petrashek told Plaintiff that he wanted to take Plaintiff to a coffee shop near

  Mr. Petrashek’s house called “KKK.” 1

          23.      Mr. Petrashek informed Plaintiff that he would drive Plaintiff to the coffee

  shop in his personal car with a confederate flag, called “General Lee,” 2 and that would be

  “funny” to walk in to the KKK coffee shop with a black man.

          24.      On another occasion Mr. Petrashek told Plaintiff that white people did black

  people a favor by “giving them a free ride to America on a cruise ship,” in reference to

  slave ships.

          25.      Nassal Project Manager, Peter Butler (Caucasian) overheard Mr.

  Petrashek’s comment about slave ships and failed to take any remedial action thus

  perpetuating and ratifying the racial discrimination.




  1
    The Ku Klux Klan “KKK” is an American white supremacist hate group.
  2
   The General Lee is a car used in the television series Dukes of Hazzard and has a confederate flag which is
  a symbol of slavery and white supremacy, it emblazoned on its roof.



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         26.     Mr. Petrashek stated that “all black people are lazy,” referred to Plaintiff as

  “JJ” from the television show Good Times 3, and made reference to “black on black crime”

  while speaking with Plaintiff.

         27.     To further discriminate against Plaintiff, Mr. Petrashek would frequently

  remind Plaintiff that he was a minority and comment that Plaintiff was “an NWA,” an

  acronym for “nigger with attitude.”

         28.     Plaintiff was humiliated by the severe and pervasive discrimination in the

  workplace.

         29.     Upon information and belief, Plaintiff was paid less than his similarly

  situated Caucasian colleague, Billy Haynes.

         30.     Upon information and belief Nassal hired Carlos (last name unknown) who

  is Hispanic withing one week of his placement.

         31.     Further, Nassal also failed to hire Gary Perry (African American) after his

  probationary period due to his race.

         32.     Plaintiff reported the disparate treatment and discrimination to members of

  Nassal’s upper management, including Cathy Daniels, Greg Pope, Mercedes (last name

  unknown), Orlando Anderson, and Peter Butler, who witnessed many of the discriminatory

  comments.

         33.     Plaintiff also reported the racial discrimination to Pacesetter, but no

  remedial action was taken.



  3
   JJ was an African American character on Good Times who was portrayed as buffoonish
  and ignorant.


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          34.     Defendants failed to take remedial action to address Plaintiff’s complaints.

          35.     Defendants’ failure to address the ongoing discrimination created a hostile

  work environment for Plaintiff and Plaintiff had no choice but to tender his resignation.

          36.     Plaintiff has been damaged by Defendants’ illegal conduct.

          37.     Plaintiff has had to retain the services of undersigned counsel and has

  agreed to pay said counsel reasonable attorneys’ fees.

                   Count I: Race Discrimination in Violation of Title VII

          38.     Plaintiff re-alleges and adopts, as if fully set forth herein, the allegations

  stated in Paragraphs 1 - 37 above.

          39.     At all times relevant to this action, Plaintiff was in a protected category

  under Title VII because of his race, African American.

          40.     During the course of Plaintiff’s employment with Defendants, Defendants,

  by and through their agents and employees, discriminated against Plaintiff in the terms,

  conditions and privileges of employment in various ways, in substantial part because of his

  race in violation of Title VII.

          41.     Plaintiff has suffered and will continue to suffer a loss of earnings and other

  employment benefits and job opportunities as a result of Defendants’ unlawful employment

  practices.

          42.     As a direct and proximate result of Defendants’ willful, knowing and

  intentional discrimination against Plaintiff, Plaintiff has suffered and will continue to suffer

  pain, humiliation and emotional distress.

          43.     Plaintiff is entitled to general and compensatory damages.



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         44.     Defendants’ conduct was willful, wanton, malicious and done in reckless

  disregard for the well-being of Plaintiff. Plaintiff is entitled to punitive or exemplary

  damages.

                        Count II: Retaliation in Violation of Title VII

         45.     Plaintiff realleges and adopts, as if fully set forth herein, the allegations

  stated in Paragraphs 1-37 above.

         46.     Plaintiff engaged in protected activity under Title VII on more than one

  occasion while employed by Defendants.

         47.      Defendants engaged in intentional retaliation against Plaintiff for his

  participation in protected activity.

         48.     Defendants’ conduct violated Title VII.

         49.     Defendants’ discriminatory conduct, in violation of Title VII, has caused

  Plaintiff to suffer a loss of pay, benefits, and prestige for which he is entitled to damages.

         50.     Defendants’ actions have caused Plaintiff to suffer mental and emotional

  distress, entitling him to compensatory damages.

         51.     Defendants have engaged in discriminatory practices with malice and

  reckless indifference to Plaintiff’s federally protected rights, thereby entitling him to

  punitive damages.

      Count III: Unlawful Race Based Discrimination in Violation of Section 1981

         52.      Plaintiff re-alleges and adopts, as if fully set forth herein, the allegations

  stated in Paragraphs 1-37 above.

         53.     Defendants discriminated against Plaintiff in violation of Section 1981.



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          54.      Based on the conduct described above, Defendants intentionally deprived

  Plaintiff of the same rights as non-African American employees.

          55.       As a result of Defendants’ discrimination in violation of Section 1981,

  Plaintiff has been denied employment opportunities providing substantial compensation

  and benefits, hereby entitling Plaintiff to equitable monetary relief.

          56.      Plaintiff has also suffered anguish, humiliation, distress, inconvenience and

  loss of enjoyment of life because of Defendants’ actions, thereby entitling him to

  compensatory damages.

          57.      Defendants acted with malice or reckless indifference to Plaintiff’s

  federally protected rights thereby entitling him to an award of punitive damages.

                Count IV: Race Based Discrimination in Violation of the FCRA

          58.      Plaintiff re-alleges and adopts, as if fully set forth herein, the allegations

  stated in paragraphs 1-37 above.

          59.      At all times relevant to this action, Plaintiff was in a protected category

  under the FCRA because of his race, African American.

          60.      Defendants are prohibited under the FCRA from discriminating against

  Plaintiff because of his race with regard to discharge, employee compensation, and other

  terms, conditions, and privileges of employment.

          61.      Defendants violated the FCRA by unlawfully discriminating against

  Plaintiff based on his race.

          62.      Defendants intentionally discriminated against Plaintiff on the basis of his

  race.



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         63.     As a direct and proximate result of Defendants’ unlawful and discriminatory

  conduct in violation of the FCRA, Plaintiff has suffered lost wages, lost benefits, as well

  as severe mental anguish and emotional distress, including but not limited to depression,

  humiliation, embarrassment, stress and anxiety, loss of self-esteem and self-confidence,

  and emotional pain and suffering, for which Plaintiff is entitled to an award of monetary

  damages and other relief.

         64.     Defendants’ unlawful conduct in violation of the FCRA was outrageous,

  malicious, was intended to injure Plaintiff, and was done with conscious disregard of

  Plaintiff’s civil rights, entitling Plaintiff to an award of exemplary and or punitive damages.

                        Count V: Retaliation in Violation of the FCRA

         65.     Plaintiff re-alleges and adopts, as if fully set forth herein, the allegations

  stated in paragraphs 1-37 above.

         66.     Plaintiff engaged in protected activity under the FCRA on more than one

  occasion.

         67.     Defendants intentionally retaliated against Plaintiff for engaging in

  protected activity.

         68.     As a direct and proximate result of Defendants’ unlawful and retaliatory

  conduct in violation of the FCRA, Plaintiff has suffered lost wages, lost benefits, as well

  as severe mental anguish and emotional distress, including but not limited to depression,

  humiliation, embarrassment, stress and anxiety, loss of self-esteem and self-confidence,

  and emotional pain and suffering, for which Plaintiff is entitled to an award of monetary

  damages and other relief.



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          69.     Defendants’ unlawful conduct in violation of the FCRA was outrageous and

   malicious, was intended to injure Plaintiff, and was done with conscious disregard of

   Plaintiff’s civil rights, entitling Plaintiff to an award of exemplary and/or punitive damages.

                                    PRAYER FOR RELIEF

          WHEREFORE, Plaintiff, requests this Honorable Court:

          a)      Enter judgment requiring Defendants to pay back wages and back benefits

   found to be due and owing at the time of trial, front-pay, compensatory damages, including

   emotional distress damages, in the amount to be proved at trial, punitive damages, and

   prejudgment interest thereon;

          b)      Granting Plaintiff costs and an award of reasonable attorneys’ fees

   (including expert witness fees); and

          c)      Award any other and further relief as this Court deems just and proper.


                                          JURY DEMAND


          Plaintiff hereby requests a trial by jury on all triable issues herein.

                                                  Respectfully Submitted:


                                                  /s/ Gary Martoccio
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